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             Case 1:01-cv-12257-PBS Document 6577-5 Filed 10/07/09 Page 2 of 2

Dra~/cott, Justin !ClV!
From:                 David S. Torborg [dstorborg@JonesDay.com]
Sent:                 Wednesday, March 11, 2009 11:57 AM
To:                   Draycott, Justin (CIV)
Cc:                   Norsetter, Claire (CIV); Hilary A Ramsey
Subject:              Re: Depo dates for D. Chang.


Thanks, Justin.

Regarding Mr. Thompson and the 30(b.) (6) topic on how CMS interpreted AWP, we are waiting
to receive the OGC opinions on AWP (see Cook and Lavine email correspondence on this)
before conducting that deposition. I think you would want to have Mr. Thompson review
those opinions -- or learn about any oral advice given on the question -- before we take
the deposition.



              "Draycott, Justin
               (CIV)"
              <Justin. Draycott@                                                To
              usdoj.gov>                    "David S. Torborg"
                                            <dstorborg@JonesDay.com>, "Hilary A
                                            Ramsey" <haramsey@JonesDay.com>
              03/11/2009 11:12                                                  cc
                                            "Norsetter, Ciaire (CIV)"
                                            <Claire.Norsetter@usdoj.gov>
                                                                           Subject
                                            Depo dates for Do Chang.




Ms. Chang advised that she’s available on April 3, 15 and 17 (but would need to start at
i0 am on Apr. 3).


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